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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JOHN DOE                                        :          CIVIL ACTION
                                                 :
    v.                                           :          No. 19-358
                                                 :
 UNIVERSITY OF THE SCIENCES                      :

                                            ORDER

         AND NOW, this 31st day of August, 2020, upon consideration of Plaintiff John Doe’s

Motion for Temporary Restraining Order and Preliminary Injunction, Defendant University of the

Sciences’s opposition and Cross-Motion to Stay Litigation Pending the Outcome of the University

Hearing, Doe’s reply in support of his Motion and opposition to the University’s Cross-Motion,

and the parties’ presentations at the August 26, 2020 hearing on the motions, and for the reasons

stated in the forthcoming Memorandum, it is ORDERED Doe’s Motion (Document 58) is

DENIED.

         It is further ORDERED the University’s Cross-Motion (Document 70) is DENIED.




                                                 BY THE COURT:




                                                 /s/ Juan R. Sánchez
                                                 Juan R. Sánchez, C.J.
